      Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 1 of 52




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

 UNITED STATES OF AMERICA


 v.                                             CRIMINAL CASE NO.
                                                1:08-CR-363-TWT-RGV
 EDGAR RODRIGUEZ-ALEJANDRO,
 a/k/a Temo, et al.


      ORDER FOR SERVICE OF MAGISTRATE JUDGE’S REPORT AND
       RECOMMENDATION ON DEFENDANTS’ PRETRIAL MOTION

       Attached is the Report and Recommendation of the United States Magistrate

Judge made in accordance with 28 U.S.C. § 636(b)(1) and N.D. Ga. Cr. R.

58.1(A)(3)(a) and (b). Let the same be filed and a copy, with a copy of this Order, be

served upon counsel for the parties.

       Pursuant to 28 U.S.C. § 636(b)(1), each party may file written objections, if any,

to the Report and Recommendation within ten (10) days of receipt of this Order.

Should objections be filed, they shall specify with particularity the alleged error(s)

made (including reference by page number to the transcript if applicable) and shall

be served upon the opposing party. The party filing objections will be responsible

for obtaining and filing the transcript of any evidentiary hearing for review by the

District Court. If no objections are filed, the Report and Recommendation may be

adopted as the opinion and order of the District Court and any appellate review of
    Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 2 of 52




factual findings will be limited to a plain error review. United States v. Slay, 714

F.2d 1093, 1095 (11th Cir. 1983).

      Pursuant to Title 18, U.S.C. § 3161(h)(1)(F), the above-referenced ten (10) days

allowed for filing objections is EXCLUDED from the computation of time under

the Speedy Trial Act, whether or not objections are actually filed. The Clerk is

DIRECTED to submit the Report and Recommendation with objections, if any, to

the District Court after expiration of the above time period.

      IT IS SO ORDERED and DIRECTED, this 11th day of September, 2009.




                                       RUSSELL G. VINEYARD
                                       UNITED STATES MAGISTRATE JUDGE




                                          2
      Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 3 of 52




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

 UNITED STATES OF AMERICA


 v.                                            CRIMINAL CASE NO.
                                               1:08-CR-363-TWT-RGV
 EDGAR RODRIGUEZ-ALEJANDRO,
 a/k/a Temo, et al.


           MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION
                  ON DEFENDANTS’ PRETRIAL MOTIONS

       Defendants Eder Jonathan Mora Quezadas (“Mora Quezadas”), Gustavo

Martinez (“Martinez”), David Gonzales, Jr. (“Gonzales”), Rodolfo Ibarra, Jr.

(“Ibarra”), and FNU/LNU #2, a/k/a Pelon (“Pelon”), and other co-defendants, have

been charged with conspiracy to possess with intent to distribute cocaine and

marijuana, possession of at least five kilograms of cocaine with intent to distribute,

and money laundering. [Doc. 1]. These defendants have filed motions to suppress

evidence. [Docs. 242, 254, 256, 257, & 273].1 After evidentiary hearings on the


       1
        Mora Quezadas filed a motion to suppress search and seizure, [Doc. 242],
which Martinez adopted, [Doc. 254]. The motion originally sought to suppress all
evidence seized at 3241 Hamilton Road, Lawrenceville, Georgia, on May 13-14, 2008.
[Doc. 242]. An evidentiary hearing on the motion was initially held on February 24,
2009, [Doc. 358], but it was continued at defendants’ request when the government
challenged defendants’ standing, [id. at 3-6, 36-38], and prior to completing the
hearing, both defendants entered guilty pleas on all the counts against them, [Docs.
307 & 309]. On April 28, 2009, the Grand Jury returned a superseding indictment
    Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 4 of 52




motions,2 the parties filed post-hearing briefs, [Docs. 301, 311, 323, 353, 357, 368, 377,

& 385], and the motions are now ripe for ruling. For the following reasons, the

undersigned RECOMMENDS that the motions to suppress, [Docs. 242, 254, 256,

257, & 273], be DENIED.3




charging Mora Quezadas and Martinez with knowingly possessing two firearms in
furtherance of a drug trafficking crime in violation of 18 U.S.C. § 924(c). [Doc. 331].
The firearms were recovered from 3241 Hamilton Road when the defendants were
arrested there on or about May 13, 2008. After the superseding indictment was
returned, Mora Quezadas and Martinez renewed their motion to suppress, and a
hearing was held on June 22, 2009, to address the issue of their standing to suppress
the firearms. [Doc. 361].
      2
        The evidentiary hearing transcripts will hereinafter be cited according to
document number. [See Doc. 294 (transcript of the February 3, 2009, hearing on
Pelon’s motion); Docs. 358 & 365 (transcripts of the February 24, 2009, and June 22,
2009, hearings, respectively, on Mora Quezadas and Martinez’s motions); Doc. 344
(transcript of the April 28, 2009, hearing on Gonzales and Ibarra’s motions)]. The
government submitted exhibits at the February 3, 2009, April 28, 2009, and June 22,
2009, hearings, which will be referred to as “Gov. Ex. ___,” and Mora Quezadas and
Martinez submitted exhibits at the June 22, 2009, hearing, which will be referred to
as “Def. Ex. ____.”
      3
        Defendant FNU/LNU #2, a/k/a Tomas (“Tomas”) filed a preliminary
motion to suppress, [Doc. 250], and subsequently was granted an extension through
January 27, 2009, to perfect or withdraw his motion. [Doc. 278 & Docket Entry dated
3/27/2009]. Defendant has not perfected the motion, and it is deemed abandoned
and withdrawn.

                                            2
     Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 5 of 52




                           I. STATEMENT OF FACTS

A.    Facts Relating to Gonzales and Ibarras’ Motions to Suppress, [Docs. 256 &
      273], and Mora Quezadas and Martinez’s Motions to Suppress, [Docs. 242
      & 254]

      1.     Surveillance of 3241 Hamilton Road and Initial Seizure

      During the investigation leading to the charges in this case, the Drug

Enforcement Administration (“DEA”) obtained information through court

authorized wiretaps that led agents to identify a residence at 3241 Hamilton Road,

Lawrenceville, Georgia used by the targets as a drug money processing location.

[Doc. 365 at 79-82]. During phone calls intercepted by the DEA ,the targets referred

to the residence as “the office.” For example, the DEA intercepted calls in which co-

defendant Edgar Rodriguez-Alejandro, a/k/a Temo (“Temo”) would tell his bosses

in Mexico that he needed to go back to “the office” before he could provide

information on how much drug money had been collected. [Doc. 344 at 5-6; Doc.

365 at 84]. DEA agents began conducting ground and aerial surveillance of 3241

Hamilton Road, Lawrenceville, Georgia in February 2008. [Doc. 365 at 64-65, 68].

      In April 2008, the DEA learned through its wiretap investigation that Temo

was going to receive orders from his boss in Mexico to contact a certain truck driver

and deliver approximately $4.7 million to the driver to transport to Mexico on April

8, 2008. [Doc. 344 at 5-7]. Temo contacted the truck driver on April 8, and, using



                                         3
    Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 6 of 52




coded language, they agreed to meet at a Quick Trip gas station off of exit 96

(Pleasantdale Road) on I-85. [Id. at 7]. That same day, surveillance at 3241 Hamilton

Road revealed suspects placing three suitcases into a Chevrolet Astro van. [Id. at

7-8; Doc. 365 at 72]. The van, a white Ford Ranger pickup truck, and a silver

Chevrolet Impala departed the residence, and the van and pickup truck were

surveilled to a warehouse located off of Oakcliff Industrial Boulevard. [Doc. 344 at

8-9; Doc. 365 at 66-67, 72]. The Impala driver met up with the driver of a tractor-

trailer at the Quick Trip, and the tractor-trailer followed the Impala to the

warehouse, where agents observed three suitcases being transferred to the tractor-

trailer. [Doc. 344 at 8-9; Doc. 365 at 66-67, 72-73]. The tractor-trailer then departed

the warehouse, and agents maintained surveillance on it. A few hours later, the

Georgia State Patrol conducted a traffic stop of the tractor-trailer in LaGrange,

Georgia, and seized approximately $4.7 million dollars hidden in the suitcases in the

trailer. [Doc. 344 at 9-11; Doc. 365 at 65, 69]. The suitcases had duct tape and orange

spray paint on their exterior and were secured with padlocks instead of the type of

locks normally used on suitcases. [Doc. 365 at 66-67, 76-77, & Gov. Ex. 29].4

      After the April 8 seizure, agents intercepted a phone call in which the targets

received instructions from Mexico to begin sending out smaller amounts of money,

      4
       After the delivery of the suitcases to the tractor-trailer, Rodriguez-Alejandro
reported back to Mexico that the $4.7 million was on its way. [Doc. 344 at 10].

                                          4
    Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 7 of 52




in increments of approximately $1 million dollars, because the drug organization did

not want to risk having such a large amount of money seized again. [Id. at 70]. On

April 16, 2008, the DEA observed the same three vehicles involved in the April 8

exchange leave 3241 Hamilton Road and go to Oakcliff Industrial Boulevard. The

agents learned, based on an intercepted call and surveillance, that approximately $1

million dollars was transferred from the Impala to a tractor-trailer that day. [Id. at

66-67, 71-72]. DEA maintained surveillance as the tractor-trailer carried the money

to Texas and crossed the border into Mexico. [Id. at 71]. The DEA observed nearly

identical transactions occur again on April 18, April 21, and May 9, 2008, all

featuring the vehicles departing from 3241 Hamilton Road and going to the

warehouse, where a suitcase with approximately $1 million was transferred from

one of the vehicles to a tractor-trailer each time. [Id. at 72-75].

      2.     Seizure of Evidence from Tractor-Trailer on April 22, 2008

      On April 20 and 21, 2008, agents learned through wiretaps that $1.2 million

was going to be delivered to a tractor-trailer driver. [Doc. 344 at 11-12, & Gov. Exs.

1-18]. On the evening of April 20, Temo and the truck driver discussed Temo

turning in “some books,” which agents understood to be a coded reference to U.S.

currency, and that it would have to happen the next day between 6:30 and 7:00 p.m.

because the warehouse was not available that night. [Id. at 12-14, & Gov. Exs. 1-2].



                                           5
    Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 8 of 52




On April 21, at 3:08 p.m., the truck driver advised Temo that he was ready, and

Temo told the truck driver to meet him at the “red drop,” a Quick Trip gas station,

off of exit 96 on I-85, and Temo said he would lead the driver to the location where

he needed to go.5 [Id. at 7, 14, & Gov. Ex. 3].

      At approximately 6:17 p.m. on April 21, Temo had a conversation with Chuki,

the individual who had the keys and access to the warehouse, to advise him of when

Temo was going to arrive at the warehouse and to confirm that Chuki would be

there. [Id. at 15-16, & Gov. Ex. 5]. Agents were conducting surveillance of 3241

Hamilton Road and observed individuals loading a suitcase into the white Chevy

Astro van, then they saw the van, the white pickup truck, and the silver Impala

depart the residence. [Id. at 7-8, 17, & Gov. Ex. 18A].

      At approximately 6:53 p.m., Temo advised Chuki that he was close to the

warehouse, and Chuki said that he would be at the warehouse shortly. [Id. at 18, &

Gov. Ex. 8]. Agents conducting surveillance of the Quick Trip gas station saw the

silver Impala arrive, and agents intercepted a telephone call in which the truck

driver said he spotted Temo and Temo then directed the truck driver to follow him.

[Id. at 19, & Gov. Ex. 10]. The truck driver, who was driving a flatbed tractor-trailer,

departed the gas station, following Temo in the Impala. Temo provided the truck



      5
          Temo also referred to the Quick Trip station as “little Q.” [Doc. 344 at 14].

                                            6
    Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 9 of 52




driver directions to the warehouse over the phone, and in one of their conversations,

Temo said that he noticed that the driver did not have a “box” on the flatbed trailer

and inquired where he was “going to put [it].” [Id. at 20-21, & Gov. Exs. 11-15]. The

truck driver advised Temo that he would put “it” under the tarp and that he had

done so previously. [Id. at 21]. Temo then called Chuki to advise him that he was

at the warehouse, and Chuki stated that he would be there in a minute. [Id. at 22].

      Surveillance agents had seen the Chevy Astro van arrive at the warehouse,

and two individuals in that vehicle unloaded a large suitcase. [Id. at 27, 49-50].

After the Impala and tractor-trailer arrived, the suitcase was placed under a tarp on

the flatbed trailer, at the front near the tractor. [Id. at 27, 40, 50-53]. After the

suitcase was secured, the tractor-trailer departed with two occupants. [Id. at 23-24,

51-53]. At approximately 7:26 p.m., Temo advised an individual who worked in the

drug trafficking organization in Atlanta that “it was done,” [id. at 23, & Gov. Exs.

16-17], and at 11:00 p.m., Temo called the accountant in Mexico, who kept track of

drugs distributed and money collected, and told him that $1,195,500 was on its way.

[Id. at 24-25, & Gov. Ex. 18].

      Agents from Atlanta maintained surveillance on the tractor-trailer from the

warehouse to Lafayette, Louisiana, where agents from Houston, Texas, took over

surveillance at approximately 12:30 or 1:00 p.m. on April 22, 2008. [Id. at 25-26, 54-



                                          7
    Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 10 of 52




57, & Gov. Exs. 19-22]. The agents believed that the money in the suitcase was being

taken to Texas and then to Mexico, as had occurred approximately two weeks earlier

with another suitcase loaded into a tractor-trailer at the same warehouse. [Id. at 27-

28]. The Houston agents maintained surveillance until the tractor-trailer was on I-10

in Fort Bend County, Texas,6 where the tractor-trailer was stopped by Patrol

Sergeant Michael Waller (“Sgt. Waller”) of the Fort Bend County Sheriff’s Office for

traffic violations. [Id. at 55-56, 58-64, 69-70, & Gov. Exs. 19-20, 25].7

      Sgt. Waller observed that the tractor-trailer had an obscured license plate, and

air hoses for the brakes of the trailer were not being properly suspended and thus

were rubbing against the frame of the tractor, which could cause damage to the

hoses resulting in brake failure. [Id. at 61-64, 91-93, & Gov. Exs. 22, 24-26, 31]. After

observing these infractions, Sgt. Waller activated the blue lights on his marked

patrol car and pulled over the tractor-trailer. [Id. at 60, 63-64]. Sgt. Waller walked

to the rear of the trailer and indicated for the driver to exit the vehicle and come back

to where Sgt. Waller was standing. The driver, defendant Gonzales, complied, and


      6
       Nothing was removed from the trailer while the agents were surveilling it.
[Doc. 344 at 24-26, 28, 41, 54-57].
      7
         Atlanta agents were in contact with the Houston DEA concerning turning
over surveillance to Houston, and Houston DEA was in turn in contact with the Fort
Bend County Sheriff’s Office and Sgt. Waller concerning the request for a traffic stop
of the tractor-trailer if independent probable cause could be established. [Doc. 344
at 59-60].

                                            8
    Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 11 of 52




Sgt. Waller asked him where he was coming from. Gonzales replied “Georgia,” but

he did not know which city in Georgia. [Id. at 64]. Sgt. Waller then asked Gonzales

what he was hauling and if he had his bill of lading and logbook, and Gonzales

stated that he did not know what he was hauling and had left the bill of lading and

logbook in the cab of the tractor when he exited to talk with Sgt. Waller. [Id.].

      Sgt. Waller became suspicious because Gonzales did not bring the bill of

lading with him, did not know where he had come from in Georgia, and did not

know what he was hauling, so Sgt. Waller left Gonzales with another deputy who

had arrived on the scene and went to talk to the passenger, defendant Ibarra. [Id.

at 64-65, 93]. Sgt. Waller talked with Ibarra as they stood next to the passenger door

of the tractor. [Id. at 65]. Ibarra likewise said they were coming from Georgia, but

he could not identify the city. When Sgt. Waller asked what they were hauling,

Ibarra first stated he did not know, but then said it was some kind of paint. [Id.].

Sgt. Waller noticed that as he asked Ibarra questions, he appeared to be nervous and

would look toward the back of the trailer, as if trying to make eye contact with

Gonzales. [Id.]. Sgt. Waller then asked if there was anything illegal in the truck, and

after looking at the trailer and attempting to look back at Gonzales, Ibarra responded

that there was not. [Id. at 65-66].




                                          9
    Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 12 of 52




      Sgt. Waller then returned to Gonzales and asked if he owned the truck, and

Gonzales responded that he owned the truck but not the trailer. [Id. at 66]. Sgt.

Waller asked if there was any contraband on the truck, and Gonzales responded no

and volunteered that Sgt. Waller could check whatever he wanted. [Id.]. Sgt. Waller

then asked for consent to search, and Gonzales responded that Sgt. Waller could

search whatever he wanted. [Id.]. Sgt. Waller confirmed the verbal consent and

began searching the trailer. [Id.]. At the front of the trailer, Sgt. Waller discovered

the large suitcase under the tarp and asked Gonzales what was inside it. [Id. at 67].

Gonzales said a dead body was in the suitcase. [Id.]. Sgt. Waller then opened the

suitcase and found bundles of U.S. currency wrapped in plastic. [Id. at 68, & Gov.

Ex. 24]. Approximately $1,194,017 was seized from the suitcase, which had been

placed on the tractor-trailer at the warehouse in Atlanta. [Id. at 25].

      3.     Seizures at 3241 Hamilton Road

      On or about May 13, 2008, officers of the Gwinnett County Police Department

(“GPD”) arrested Mora Quezadas and Martinez and two other suspects at 3241

Hamilton Road. [Doc. 365 at 18, 32].8 Another suspect avoided arrest by fleeing

from the premises. [Id. at 32]. GPD Investigator Scott Kannigiser (“Investigator



      8
       One of the arrestees was co-defendant Temo, who did not file a brief on the
standing issue and has therefore abandoned the motion to suppress. [Doc. 377 at 6
n.2].

                                          10
    Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 13 of 52




Kannigiser”), the case agent for the arrest, described the following evidence

recovered during a subsequent search of the residence:

      1.     The attic contained 30-35 suitcases and packages filled with
             approximately $7.6 million in U.S. currency, the money having been
             vacuum sealed and wrapped in rubber bands; and a suitcase containing
             12 kilograms of cocaine;

      2.     The attic and bonus room contained three money counters, food saver
             bags, and two food saver machines, which Investigator Kannigiser
             explained are used to vacuum seal packages of money;

      3.     The downstairs living area contained packages of brass master
             padlocks and cell phones, in addition to a hand gun located in the
             cushions of the couch.9

      4.     A shelf in the laundry closet held three rolls of silver duct tape and a
             can of orange spray paint.

      5.     The kitchen cabinets contained a calculator and several business
             ledgers for documenting the collection of money.

[Id. at 35-42, 76, 81, & Gov. Exs. 11-13, 19-23, 28].

      4.     Evidence Relating to Defendants’ Ties to 3241 Hamilton Road

      At the February 24, 2009, evidentiary hearing, Mora Quezadas testified that

he had been staying at 3241 Hamilton Road for approximately one week before he

was arrested there on May 13, 2008, and he did not know how long he would have

continued to stay there. [Doc. 358 at 15]. He did not have any agreement to pay rent

      9
         The other handgun was reportedly found in one of the bedrooms, [Doc. 365
at 9], but the record does not demonstrate whether it was one of the bedrooms the
defendants occupied.

                                           11
   Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 14 of 52




and had access only to his bedroom, a bathroom, the living room, the

kitchen/dining room, and the garage area that had been converted into a recreation

room containing a pool table. [Id. at 17, 23-26]. Mora Quezadas testified at the June

hearing that he sometimes ate meals at the house and sometimes cooked in the

kitchen, and he had watched TV and played pool in the house. [Doc. 365 at 47-48].

Mora Quezadas also identified photographs of the bedroom where he had been

sleeping, which depicted clothing and a suitcase. [Id. at 47, & Def. Exs. 19-21]. Mora

Quezadas testified that defendant Martinez also slept at the house, ate some meals

there, and played pool in the house. [Id. at 48].

      Mora Quezadas testified that he had another residence in May 2008 besides

3241 Hamilton Road, but he could not identify the location of that residence because

he had only been in the area a short time and was not familiar with the streets or

neighborhoods. [Id. at 60-61]. He testified that he was staying at 3241 Hamilton

Road because he was going to be leaving the area soon to travel with his family. [Id.

at 61]. Martinez submitted into evidence an affidavit which stated that on May 13,

2008, he resided at 3241 Hamilton Road and had been a resident at that address for

approximately one week. [Doc. 365, Def. Ex. 1].

      At the June 2009 hearing, the photographs defendants introduced of the

interior of 3241 Hamilton Road depicted a furnished, single-family home with



                                         12
     Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 15 of 52




clothes in bedrooms and other rooms and food in the refrigerator and pantry, as well

as some personal items belonging to a woman and child. [Id. at 19-28, & Def. Exs.

2-21]. Paperwork with Martinez’s name on it was also found upstairs in the first

bedroom on the right, but Investigator Kannigiser did not know the nature of the

paperwork, how it came to be there, or how long it had been there. [Id. at 29-30, 33].

Investigator Kannigiser likewise did not know if any of the defendants had a key to

the house, and there was no other evidence that the defendants had keys or the right

to exclude others. [Id. at 33]. Investigator Kannigiser testified that when entry was

made, a male left the residence and evaded arrest, and aside from defendants

Martinez, Mora Quezadas, and Temo, a woman was also arrested at 3241 Hamilton

on May 13. [Id. at 32]. Investigator Kannigiser testified that, in his experience, there

was nothing unusual about a Mexican drug organization using a single-family

residence as a stash house or a money processing house. [Id. at 34].

B.     Facts Relating to FNU/LNU #2, a/k/a Pelon’s Motion to Suppress, [Doc. 257]

       The indictment in this case was returned on September 10, 2008. [Doc. 1]. On

September 15, 2008, DEA Special Agent Curt Fallin (“Agent Fallin”) held meetings

with various state and federal officers about the coordinated execution of multiple

arrest and search warrants in this case that were to occur the following day. [Doc.

294 at 11-12]. Agent Fallin provided defendant Pelon’s arrest warrant to agents



                                          13
    Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 16 of 52




assigned to make his arrest, and DEA Task Force Officer David Noe briefed the

agents about Pelon’s residence at 1014 Sweetwater Road in Lawrenceville, Georgia,

as well as a black Honda associated with Pelon. [Id. at 13-14].

      Surveillance and wiretap telephone calls that occurred between September 4

and September 15, 2008, demonstrated a close association between Pelon and

defendant Jose Luis Hernandez (“Luis”) and indicated that Pelon was involved with

drug trafficking on “a major level,” that Pelon was connected to a black Honda that

had been seen at one of Luis’ houses and at 1014 Sweetwater Road, and that the

Sweetwater residence was Pelon’s or his girlfriend’s or wife’s. [Id. at 3-10, 15-16, 21-

23]. Agents surveilled the Sweetwater residence from 6:30 p.m. to 10:00 p.m. on

September 15, and a BMW and black Honda were parked at the house when

surveillance began and ended. [Id. at 15-16, 23]. Agent Fallin testified that agents

were not aware of any job or employment that Pelon had as of September 15, 2008,

and that there was no reason to suggest that Pelon would not be at his residence

early in the morning the next day. [Id. at 15].

      DEA Task Force Officer Kevin Krueger (“Officer Krueger”) was involved in

the execution of the arrest warrant for Pelon on September 16, 2008. [Id. at 28]. Just

before 8:25 a.m. that day, Officer Krueger arrived at the Sweetwater house with 12

to 15 agents. [Id. at 30]. The agents parked some distance from the house so they



                                          14
    Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 17 of 52




could make a tactical approach, since they thought people inside could be awake by

8:30 a.m. [Id. at 31-32]. Officer Krueger saw a black Honda parked at the

Sweetwater house, which matched the description of the car that the other DEA

group had seen there the night before. [Id. at 31]. Agents knocked and announced

their presence, waited approximately 20 to 30 seconds for someone to answer the

door, then knocked and announced again before forcibly opening the door to the

house. [Id. at 32, 40-41].

      Officer Krueger led the group in with a barricade, and as the agents cleared

the house room by room, they approached a locked master bedroom door, broke it

down, and found defendant Pelon and a woman in the bed inside the room. [Id. at

33-34]. The bedroom contained a king-sized bed, and Officer Krueger testified that

the room was “not very big” and had a “wall to wall bed.” [Id. at 34]. As agents

entered the room, they saw four cellular telephones in the bedroom. [Id. at 34, 38,

50]. One phone was lying on the night stand to the right of the bed, one was lying

on the floor to the right of the bed, and two were lying on the floor to the left of the

bed. [Id. at 34-35].

      Officer Krueger testified that when agents entered the room or took a few

steps into the room, all four phones were visible to them, and that Pelon could have

grabbed or accessed all four of the phones from where he was situated when agents



                                          15
    Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 18 of 52




found him. [Id. at 35, 37, 47]. Agents called out the fact that there were phones in

the room, and Officer Krueger immediately recognized the phones as evidence of

criminal conduct and testified that he and the members of his group were aware of

the importance of phones in a drug and wiretap investigation:

       I mean they’re a phone group. We’re a phone group. I mean the
       phones are a viable source of our intel, and during the course of
       various investigations or arrests, there’s always a concerted effort by
       the part of the defendants many times to destroy the phones, either
       remove the SIM cards or disassemble them where agents don’t have
       access to the phones.

[Id. at 35-36, 50].

       Agents did a quick “wingspan search,” or protective sweep, of the area within

Pelon’s reach, including the area under the bed. [Id. at 36-37]. During this search,

all four phones would also have been visible to the agents. [Id. at 37-38]. Officer

Krueger quickly looked inside the bedroom while agents were ordering Pelon out

of bed. Pelon was handcuffed while inside the bedroom and then brought into the

kitchen area, and the entire encounter in the bedroom lasted “a matter of seconds.”

[Id. at 45-47]. While agents took a voice exemplar from Pelon in the kitchen, Officer

Krueger seized the four phones from the bedroom area, which was “within five

minutes” of agents encountering Pelon. [Id. at 38]. According to Officer Krueger,

the phones were not seized while agents were in the bedroom with Pelon because




                                         16
     Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 19 of 52




“the most important thing was to get him secured, get everybody in the house that

was in there secured.” [Id. at 49].10

                                 II. DISCUSSION

A.     Gonzales and Ibarra’s Motions to Suppress, [Docs. 256 & 273]

       Gonzales and Ibarra assert that the tractor-trailer they were traveling in on

April 22, 2008, was stopped without probable cause and that the police unlawfully

searched the vehicle and lacked consent to do so.          [Docs. 256 & 273].     The

government argues that probable cause to search the tractor-trailer existed due to

the collective knowledge of all of the participating law enforcement officers at the

time of the traffic stop, and, alternatively, that Sgt. Waller had independent probable

cause to stop the vehicle for traffic violations he observed, and that Gonzales gave

him consent to search the tractor-trailer and suitcase. [Doc. 363]. Defendant

Gonzales responds that probable cause was lacking because the evidence was

indicative of mere presence at a crime scene and among criminal suspects and

nothing more, and that the traffic stop was a pretext to investigate the suspected

drug trafficking crime. [Doc. 357 at 4-5].11 Gonzales also argues that his consent to


       10
        Agents testified that they did a protective sweep to make sure there were
no other subjects in the bedroom because “there [were] like 13, 14 of us inside that
house in a small area.” [Doc. 294 at 36].
       11
       Because defendant Ibarra has not filed a post-hearing brief, he is deemed to
have abandoned his motion. Nevertheless, the Court’s discussion of Gonzales’

                                          17
    Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 20 of 52




search was invalid because it was the product of an illegal stop and not voluntary.

[Id. at 9-11].

       1.        Legality of Search Based on Traffic Stop and Consent

       The Fourth Amendment of the United States Constitution guarantees “[t]he

right of the people to be secure in their persons, houses, papers, and effects, against

unreasonable searches and seizures.” U.S. Const. amend. IV. “Temporary detention

of individuals during the stop of an automobile by the police, even if only for a brief

period and for a limited purpose, constitutes a ‘seizure’ of ‘persons’ within the

meaning of this provision.” Whren v. United States, 517 U.S. 806, 809-10 (1996).

Therefore, an automobile stop is “subject to the constitutional imperative that it not

be unreasonable under the circumstances.” Id. at 810 (internal marks omitted).

       “[A] traffic stop is a constitutional detention if it is justified by reasonable

suspicion under Terry [392 U.S. at 30, that ‘criminal activity is afoot,’] or probable

cause to believe a traffic violation has occurred under Whren . . . .” United States v.

Chanthasouxat, 342 F.3d 1271, 1275 (11th Cir. 2003). Probable cause must be

supported by more than a mere suspicion, but does not require the same “standard

of conclusiveness and probability as the facts necessary to support a conviction.”

United States v. Dunn, 345 F.3d 1285, 1290 (11th Cir. 2003). Reasonable suspicion is



motion demonstrates that Ibarra’s motion also fails on the merits.

                                          18
    Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 21 of 52




a less demanding standard than probable cause and requires only a fair probability

that illegal activity has occurred. United States v. Sokolow, 490 U.S. 1, 7 (1989);

United States v. Arvizu, 534 U.S. 266, 274 (2002) (citation omitted) (reasonable

suspicion is not formed on a “mere hunch”).

      In examining the existence of probable cause and reasonable suspicion, the

Court looks at the totality of the circumstances confronting the officer. United States

v. Trullo, 809 F.2d 108, 111 (1st Cir. 1987). See also Arvizu, 534 U.S. at 273-74.

Subjective intentions and motivations are irrelevant, as an officer must have a

“particularized and objective basis for suspecting legal wrongdoing.” United States

v. Lindsey, 482 F.3d 1285, 1290 (11th Cir. 2007) (quoting Arvizu, 534 U.S. 266);

Chanthasouxat, 342 F.3d at 1279-80; United States v. Meyer, 20 Fed. App. 808, 813

(10th Cir. 2001) (unpublished); United States v. Lopez-Valdez, 178 F.3d 282, 288 (5th

Cir. 1999). Where the investigative stop is performed by an officer at the direction

of other officers, the Court must examine the collective knowledge of all of the

officers in determining whether there existed reasonable suspicion. Whiteley v.

Warden, Wyo. State Penitentiary, 401 U.S. 560, 568 (1971); see also United States v.

Mikell, 102 F.3d 470, 474-75 (11th Cir. 1996). It is the government’s burden to

demonstrate that the officer had such a basis before initiating the stop. See Welsh




                                          19
    Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 22 of 52




v. Wisconsin, 466 U.S. 740, 749-50 (1984); United States v. Tobin, 923 F.2d 1506, 1517

n.21, 1520 (11th Cir. 1991) (en banc) (Clark, J., dissenting).

       Gonzales argues that the traffic stop resulting in the seizure of the suitcase

was illegal because it “did not relate to and lasted longer than was necessary to

investigate [the] traffic violations that were the purported reason for [the stop] in the

first place.” [Doc. 357 at 6]. Defendants have not contested that the obscured license

plate and the failure to properly suspend the air hoses for the trailer’s brakes

constituted traffic violations,12 [Doc. 357 at 3, 6], and whether the traffic stop was

motivated by a desire to investigate other criminal activity is irrelevant, since all Sgt.

Waller needed was a “particularized and objective basis for suspecting legal

wrongdoing.” Lindsey, 482 F.3d at 1290; see also Chanthasouxat, 342 F.3d at 1279-

80; Meyer, 20 Fed. App. at 813; Lopez-Valdez, 178 F.3d at 288.




       12
          Section 502.409(a) of the Texas Transportation Code provides that “[a]
person commits an offense if the person attaches to or displays on a motor vehicle
a number plate or registration insignia that . . . has blurring or reflective matter that
significantly impairs the readability of the name of the state in which the vehicle is
registered or the letters or numbers of the license plate number at any time; or . . .
has a coating, covering, protective material, or other apparatus that . . . distorts
angular visibility or detectability . . . or . . . alters or obscures the letters or numbers
of the license plate number or the color of the plate.” Tex. Transp. Code § 502.409(a).
The government has not provided a statutory citation in reference to Gonzales’
failure to properly suspend the air hoses on the vehicle, but Sgt. Waller testified that
this was constituted an “unsafe condition” and was “definitely a safety violation of
improper vehicle, maintaining a safe operable vehicle.” [Doc. 344 at 63, 90].

                                            20
   Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 23 of 52




      The Supreme Court in Whren held that the constitutional reasonableness of

the traffic stop does not depend on the actual motivation of the police officers

involved. 517 U.S. at 813; see also United States v. Holloman, 113 F.3d 192, 194 (11th

Cir. 1997) (“[t]he [Whren] decision conclusively refutes the notion that ulterior

motives may invalidate police conduct that is justified on the basis of probable cause

to believe that a violation of law has occurred”); United States v. Simmons, 172 F.3d

775, 778 (11th Cir. 1999) (“an officer’s motive in making the traffic stop does not

invalidate what is otherwise objectively justifiable behavior under the Fourth

Amendment,” and there was no basis to question the district court’s finding that

“there was no question that the officers had observed [defendant] run the stop sign

and, therefore, had probable cause to stop [defendant’s] automobile”) (internal

marks and citation omitted). Therefore, Gonzales’ argument that the traffic stop was

pretextual because Sgt. Waller had “received information from other officers [that]

the vehicle was suspected of carrying drugs and those officers requested the

arresting officer to [develop] independent probable cause to stop defendant’s

vehicle,” and because Sgt. Waller testified that when he first stopped the vehicle, he

already “believed defendant was violating the law notwithstanding any traffic

violations that might occur as he pursued defendant,” [Doc. 357 at 6-7 (citing Doc.

344 at 59-61, 82-83)], is without merit. There is no dispute that Sgt. Waller actually



                                         21
    Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 24 of 52




observed the tractor-trailer committing two traffic violations and therefore had

probable cause to stop the vehicle.

      Even though an officer may have justification to initiate a traffic stop, the

ensuing detention of a vehicle’s occupant must not be excessively intrusive in that

the officer’s actions “must be reasonably related in scope to the circumstances which

justified the interference in the first place.” United States v. Boyce, 351 F.3d 1102,

1106 (11th Cir. 2003) (quoting Terry v. Ohio, 392 U.S. 1, 20 (1968)). See also United

States v. Cantu, 227 Fed. App. 783, 785 (11th Cir. 2007) (unpublished). The stop

must be of limited duration and may not last “‘any longer than necessary to process

the traffic violation unless there is articulable suspicion of other illegal activity.’”

United States v. Purcell, 236 F.3d 1274, 1277 (11th Cir. 2001) (quoting Holloman, 113

F.3d at 196). The duration of the traffic stop “must be limited to the time necessary

to effectuate the purpose of the stop.” Id. The legality of a detention following a

traffic stop may be jeopardized if an officer improperly extends its duration. United

States v. Hernandez, 418 F.3d 1206, 1209 n.3 (11th Cir. 2005) (in light of Muehler v.

Mena, 544 U.S. 93, 100-01 (2005), the proper focus is on the duration of the stop, not

the scope of questioning).

      Gonzales claims that the duration of the detention exceeded the permissible

scope of the traffic stop based on the circumstances that led to the stop in the first



                                          22
    Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 25 of 52




place, since the “entire detention lasted about ten minutes,” Sgt. Waller testified that

“the real purpose for stopping [Gonzales] was to [develop independent] probable

cause and investigate the truck to determine if it carried drugs or money,” and once

Sgt. Waller finished writing the traffic warning, the traffic investigation was

complete. [Doc. 357 at 8; Doc. 344 at 82-84, 86]. However, the government argues

that Sgt. Waller had reasonable suspicion that Gonzales was engaging in or about

to engage in a crime and therefore could lawfully detain him for a period to

investigate. [Doc. 353 at 15].

      Where the initial traffic stop is legal, the officer has “‘the duty to investigate

suspicious circumstances that then [come] to his attention.’” United States v. Harris,

928 F.2d 1113, 1117 (11th Cir. 1991) (quoting United States v. Hardy, 855 F.2d 753,

757 (11th Cir. 1988)). Police are “entitled under the decisional law to conduct a

variety of checks on the driver and his car, including questioning the driver about

the traffic violation, requesting consent to search the car, and running a computer

check for outstanding warrants.” Simmons, 172 F.3d at 778 (emphasis omitted).

Moreover, insofar as officers are conducting a valid traffic stop, the officers are also

permitted to order the suspect to exit the vehicle. Maryland v. Wilson, 519 U.S. 408,

414-15 (1997); Pennsylvania v. Mimms, 434 U.S. 106, 110-11 & n.6 (1977).




                                          23
    Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 26 of 52




      Sgt. Waller had a valid basis for stopping the tractor-trailer based on the traffic

violations he observed, and he had “the duty to investigate suspicious circumstances

that then [came] to his attention.” Harris, 928 F.2d at 1117. Sgt. Waller was

authorized to order Gonzales out of the vehicle and to question him about his

operation of the tractor-trailer, including asking to see his bill of lading and logbook.

Gonzales’ answers to Sgt. Waller’s questions, including that he did not know what

he was hauling or the city from which his trip originated, combined with Ibarra’s

nervousness and multiple glances toward Gonzales, provided ample reasons for Sgt.

Waller to extend the stop to further investigate, particularly given Sgt. Waller’s

knowledge of how the tractor-trailer was connected to the surveillance that had

started in Atlanta.13 Moreover, Gonzales concedes that the “entire detention lasted




      13
          Gonzales cites United States v. Tapia, 912 F.2d 1367, 1371 (11th Cir. 1990),
to argue that the answers he and Ibarra gave to the police “were typical of . . . out
of state individuals confronted by law enforcement.” [Doc. 357 at 9]. The court in
Tapia found that “the factors cited by the district court . . . e.g., being Mexican,
having few pieces of luggage, being visibly nervous or shaken during a
confrontation with a state trooper, or traveling on the interstate with Texas license
plates . . . do not provide a minimal, particularized basis for a conclusion of
reasonable suspicion on the part of [the officer].” 912 F.2d at 1371. However, the
totality of the circumstances here differ from those in Tapia. As discussed, Sgt.
Waller was aware that the tractor-trailer was suspected of being involved in drug
trafficking and was under surveillance by DEA agents at the time he initiated the
stop. Gonzales’ claim that he did not know what he was hauling or the city in
Georgia from which he departed, combined with Ibarra’s similarly evasive answers
to Sgt. Waller’s questions, provided reasonable suspicion to extend the stop.

                                           24
   Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 27 of 52




about ten minutes,” [Doc. 357 at 8], which was certainly reasonable under the

circumstances.

      The subsequent search of the vehicle and suitcase was lawful pursuant to

Gonzales’ voluntary consent.     “One of the well-established exceptions to the

probable cause and warrant requirements is a search which is conducted pursuant

to voluntary consent.” United States v. Garcia, 890 F.2d 355, 360 (11th Cir. 1989).

See also Schneckloth v. Bustamonte, 412 U.S. 218, 219 (1973); United States v.

Reynolds, 526 F. Supp. 2d 1330, 1336 (N.D. Ga. 2007). “In order for consent to a

search to be deemed voluntary, it must be the product of an essentially free and

unconstrained choice.” Garcia, 890 F.2d at 360.

      The government bears the burden of proving that consent was voluntary,

United States v. Tovar-Rico, 61 F.3d 1529, 1536 (11th Cir. 1995), and voluntariness

of consent is determined on the basis of the totality of the circumstances.

Schneckloth, 421 U.S. at 227; Reynolds, 526 F. Supp. 2d at 1337. Relevant factors

include the presence of coercive police procedures, the extent of the person’s

cooperation with the officer, the person’s awareness of his or her right to refuse

consent, the person’s education and intelligence, and the person’s belief that no

incriminating evidence will be found. Purcell, 236 F.3d at 1281.




                                        25
    Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 28 of 52




      Here, there is no indication that there was a language barrier as Sgt. Waller

was able to converse with both Gonzales and Ibarra. [Doc. 344 at 65]. Gonzales was

cooperative during the encounter, first telling Sgt. Waller that there was no

contraband in the vehicle and, before Sgt. Waller even asked for consent, that “[Sgt.

Waller] can check whatever [he] want[ed].” [Id. at 66]. After Sgt. Waller asked for

consent to search the vehicle, Gonzales again stated, “Yes, search whatever you

want.”14 Even after Gonzales told Sgt. Waller it was okay for him to search the

vehicle, Sgt. Waller confirmed that he had received verbal consent from Gonzales.

[Id.]. Sgt. Waller did not draw his weapon, did not make any threats or use any

force, and in fact had no physical contact with Gonzales at all. [Id. at 94]. From the

moment Sgt. Waller began interacting with Gonzales, he cooperated with Sgt.

Waller, and during the search, neither Gonzales nor Ibarra voiced any objections,

nor did Gonzales rescind the verbal consent. Gonzales does not contest any of these

facts but simply claims that the purported consent “came at the ‘heels’ of an illegal

arrest deemed as lack of probable cause [sic] and invalid traffic stop,” and that “[t]he

consent was given within ten minutes of the illegal seizure without the presence of

[intervening] circumstances.” [Doc. 357 at 9]. However, as stated, the initial traffic



      14
        Gonzales makes no argument regarding his education and intelligence, but
the undisputed evidence shows that he understood what was being asked of him.
[Doc. 344 at 65-67].

                                          26
    Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 29 of 52




stop and seizure of Gonzales’ person for the purpose of investigating the

circumstances that came to Sgt. Waller’s attention were not unlawful, and the

subsequent consent was therefore not tainted.

      Considering the totality of these facts and circumstances, and comparing this

encounter to more coercive circumstances that have nonetheless been found to be

consensual, the Court finds that Gonzales freely and voluntarily consented to a

search of the tractor-trailer. See United States v. Hidalgo, 7 F.3d 1566, 1567, 1571

(11th Cir. 1993); Garcia, 890 F.2d at 361 (holding consent voluntary despite officers’

refusal to accept suspect’s conditional consent to search and threats to obtain a

search warrant if suspect did not consent to a full search); United States v. Long, 866

F.2d 402, 404 (11th Cir. 1989) (holding consent voluntary where officers asked for

consent to search, stating that, if refused, they would “dig the place up”); United

States v. Espinosa-Orlando, 704 F.2d 507, 513 (11th Cir. 1983) (holding consent

voluntary despite fact that individual was arrested at gunpoint, forced to lie on the

ground, and provided consent while one officer had his weapon drawn). After

Gonzales gave consent to search the tractor-trailer, Sgt. Waller located the suitcase

under the tarp near the front of the trailer. Sgt. Waller asked Gonzales what was

inside the suitcase, and Gonzales said a dead body. [Doc. 344 at 67]. Gonzales’

answer provided Sgt. Waller further reason to continue his investigation and to open



                                          27
   Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 30 of 52




the suitcase based on Gonzales’ consent. United States v. Kapperman, 764 F.2d 786,

794 (11th Cir. 1985) (consent to search vehicle extended to opening luggage found

in vehicle); United States v. Harris, 716 F. Supp. 1470, 1474-75 (M.D. Ga. 1989)

(verbal consent to search vehicle encompassed opening travel bags found in trunk).15

      2.     Probable Cause to Search the Tractor-Trailer

      The Court also finds that the warrantless search of the tractor-trailer and

suitcase was supported by probable cause to believe they contained contraband.

“The legality of a warrantless automobile search is based on the existence of

probable cause to believe that the automobile is carrying contraband subject to

forfeiture under the law, and the difficulties of securing a moveable vehicle while

a warrant is obtained.” United States v. Thomas, 536 F. Supp. 736, 742 (M.D. Ala.

1982). See also Chambers v. Maroney, 399 U.S. 42, 51-52 (1970); United States v.

Alexander, 835 F.2d 1406, 1409 (11th Cir. 1988). Thus, a warrantless search of a

vehicle is authorized where probable cause coupled with exigent circumstances is

      15
         Gonzales summarily argues that the police failed to read him his Miranda
warnings and never “avail[ed] themselves of the opportunity to obtain a search
warrant given the fact that for almost two days police had intercepted wiretaps of
phone calls related to this case and physically conducted continuous [surveillance]
of defendant for almost a full day.” [Doc. 357 at 10]; see Miranda v. Arizona, 384
U.S. 436 (1966). However, the police were not required to read Gonzales his
Miranda warnings, since he was not under arrest and was therefore not interrogated
in a custodial setting. [Doc. 344 at 81-82]. Moreover, as already stated, Sgt. Waller
had Gonzales’ voluntary consent to search the tractor-trailer and its contents and
therefore was not required to obtain a warrant.

                                         28
    Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 31 of 52



present. Thomas, 536 F. Supp. at 742 (citing Coolidge v. New Hampshire, 403 U.S.

443, 458-64 (1970)).

      Probable cause to search exists “‘when the facts and circumstances would lead

a reasonably prudent [person] to believe that the vehicle contains contraband.’”

Alexander, 835 F.2d at 1409 (quoting United States v. Clark, 559 F.2d 420, 424 (5th

Cir. 1977))16 (alteration in original). In determining whether probable cause exists,

the Court “may examine the collective knowledge of the officers ‘if they maintained

at least a minimal level of communication during their investigation.’” United States

v. Olmedo, 552 F. Supp. 2d 1347, 1357 (S.D. Fla. 2008) (quoting United States v.

Willis, 759 F.2d 1486, 1494 (11th Cir. 1985) (citation omitted)). Exigent circumstances

exist by the mere potential mobility of the vehicle. United States v. Nixon, 918 F.2d

895, 903 (11th Cir. 1990) (the requirement of exigent circumstances is satisfied by the

“ready mobility” inherent in all vehicles that reasonably appear to be capable of

functioning). “If probable cause justifies the search of a lawfully stopped vehicle,

it justifies the search of every part of the vehicle and its contents that may conceal

the object of the search.” United States v. Ross, 456 U.S. 798, 825 (1982).




      16
         In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en banc),
the Eleventh Circuit adopted as binding precedent all decisions of the former Fifth
Circuit rendered prior to October 1, 1981.

                                          29
    Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 32 of 52



      The collective knowledge of the participating law enforcement officers at the

time of the traffic stop included the wiretap information detailing the transactions

to take place, the use of coded language that the agents knew referred to the drug

trade, the prior surveillance and seizure under similar circumstances, the

surveillance of the tractor-trailer, the Impala, the white Chevy van, and the white

pickup truck on April 21, including observing the suitcase being removed from the

van that traveled from 3241 Hamilton Road to the warehouse and placed onto the

flatbed trailer, and the continuous surveillance of the tractor-trailer until the time of

the traffic stop, which provided probable cause to believe that on the evening of

April 21, 2008, Temo and others were at the warehouse placing drug proceeds on the

trailer and that the money in question would be found on the trailer on April 22.17

Olmedo, 552 F. Supp. 2d at 1357; Alexander, 835 F.2d at 1409.

      Under the totality of the circumstances, Sgt. Waller had probable cause to

search the tractor-trailer and to seize the suitcase located within the truck. United

States v. Pineda, No. 1:06-cr-350-WSD, 2008 WL 686239, at *10-11 (N.D. Ga. Mar. 10,

2008), adopted at *4 (finding collective knowledge of officers conducting wiretap

surveillance of drug trafficking organization followed by the observations of


      17
        The exigency requirement is satisfied as the tractor-trailer had recently been
observed in motion, therefore showing its mobility. See United States v. Watts, 329
F.3d 1282, 1286 (11th Cir. 2003) (mobility is satisfied merely if “the automobile is
operational”).

                                           30
    Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 33 of 52



defendant actually engaging in activity expressed during the intercepted calls gave

officers sufficient probable cause to search vehicle). See also United States v. Olvera,

178 Fed. App. 373, 374-75 (5th Cir. 2006) (per curiam) (unpublished) (finding wiretap

surveillance and observations of suspect provided agents with probable cause to

search vehicle, including any area where contraband could be found); United States

v. Jackson, 548 F. Supp. 2d 1314, 1320-21 (M.D. Fla. 2008), adopted at 548 F. Supp.

2d at 1317 (probable cause to search vehicle existed based on the information learned

through the wiretap and earlier surveillance confirming information); United States

v. Lee, No. 1:06-CR-125(9), 2007 WL 1567098, at *11-12 (E.D. Tex. May 29, 2007),

adopted at *1 (agents’ knowledge, provided by intercepted calls, that truck drivers

in tractor-trailers were utilized as couriers to distribute narcotics, coupled with

agents’ observation of duffle bags being placed in truck with call afterwards

confirming “everything was cool,” provided sufficient probable cause to believe

defendant was transporting cocaine).18




      18
         Gonzales argues that probable cause was lacking because the evidence was
“indicative of mere presence at a crime scene and among criminal suspects and
nothing more,” and that the “record does not show that [Gonzales] loaded or saw
the suitcase containing the money much less the contents inside the suitcase.” [Doc.
357 at 4]. However, the focus of the inquiry is not on whether the defendants were
aware that contraband was in the vehicle, but simply on whether the police had
probable cause to believe that contraband was in the vehicle, which, as stated, has
been established based on the collective knowledge of the agents in this case.

                                          31
    Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 34 of 52



      Gonzales cites United States v. Virden, 488 F.3d 1317, 1320-22 (11th Cir. 2007),

[Doc. 357 at 4], in which the Eleventh Circuit held that officers lacked probable cause

to seize the defendant’s rental car after observing him exit the garage of a private

residence, where the facts known were that the defendant left a location of suspected

drug activity, appeared to have control over the garage because the garage door

closed without anyone else being seen, and misstated to the police exactly where he

had been. Virden, 488 F.3d at 1322. The Court finds that the facts known at the time

the tractor-trailer was searched were stronger than those in Virden. As stated, the

collective knowledge of the officers, including information gained from intercepted

phone calls, surveillance on April 21 and 22 and observations of the driver of the

tractor-trailer engaging in the activity expressed during the intercepted calls, and the

suspicious behavior of the defendants, provided probable cause to believe that

contraband would be found in the suitcase on the tractor-trailer, in contrast to the

circumstances in Virden where officers had only seen the defendant leave a location

of suspected criminal activity but had no other corroborating information.19 Because


      19
        Gonzales also cites United States v. Boyce, 351 F.3d 1102, 1109 (11th Cir.
2003), in which the Eleventh Circuit found that the officer’s reliance on the
defendant’s supposed nervous behavior was belied by a videotape of the defendant
during the encounter, which did not reflect such nervousness, and that the officer’s
testimony that he was suspicious because the defendant was traveling such a long
distance to see an ex-girlfriend was not a reasonable basis for the search because the
defendant was able to explain away the inconsistencies in his behavior and the
reason for the travel. However, Gonzales presented no evidence to contradict or

                                          32
     Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 35 of 52



the traffic stop was lawful and Sgt. Waller obtained consent to search, and because

independent probable cause to search the tractor-trailer and suitcase existed, it is

RECOMMENDED that Gonzales and Ibarra’s motions to suppress, [Docs. 256 &

273], be DENIED.

B.     Mora Quezadas and Martinez’s Motions to Suppress, [Docs. 242 & 254]

       At the outset of the initial evidentiary hearing on Mora Quezadas and

Martinez’s motions to suppress, the government challenged whether the defendants

had standing to contest the search of 3241 Hamilton Road. [See Doc. 358]. The

parties presented evidence on the standing issue at both hearings, and Mora

Quezadas and Martinez argue that they have shown that they had a subjective

expectation of privacy in the residence, which was objectively reasonable. [Doc. 368

at 4-5]. The government responds that defendants have not established a legitimate

expectation of privacy because they were, at most, overnight guests at the residence

for a commercial purpose instead of personal reasons. [Doc. 377 at 10-13].




explain away Sgt. Waller’s testimony about his or Ibarra’s suspicious behavior.
While Gonzales argues that his answers to Sgt. Waller’s questions “were not shown
to be false or deceitful or actual [misstatements]” and “reflect a trucker from another
state who picks up a load and does not concern himself with what the load consists
of,” [Doc. 357 at 5], for the reasons discussed, the Court finds that the totality of the
circumstances presented here provided probable cause to believe that the tractor-
trailer was transporting contraband.

                                           33
    Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 36 of 52



      A defendant who challenges a search under the Fourth Amendment bears the

burden of demonstrating a legitimate expectation of privacy in the area searched.

United States v. Cooper, 133 F.3d 1394, 1398 (11th Cir. 1998). A person has a

legitimate expectation of privacy if (1) he has a subjective expectation of privacy, and

(2) society is prepared to recognize that expectation as objectively reasonable.

United States v. Segura-Baltazar, 448 F.3d 1281, 1286 (11th Cir. 2006). “A legitimate

expectation of privacy [must] be proven by factors beyond mere possession, such as

a right to exclude or a right to privacy.” United States v. Espinosa-Orlando, 704 F.2d

507, 512 (11th Cir. 1983) (citing Rakas v. Illinois, 439 U.S. 128, 143-44 & n.12)).

      While an overnight guest in a third party’s home can have a legitimate

expectation of privacy in the host’s home, Minnesota v. Olson, 495 U.S. 91, 98 (1990),

“the act of staying overnight at a third party residence does not automatically entitle

a defendant to the protections of the Fourth Amendment.” United States v. Hunt,

No. 2:07-cr-284-WKW, 2008 WL 4080770, at *3 (M.D. Ala. Sept. 3, 2008); United

States v. Puliese, 671 F. Supp. 1353, 1358-61 (S.D. Fla. 1987). Indeed, merely

occupying a residence or room overnight does not establish a reasonable expectation

of privacy in that place for Fourth Amendment purposes. United States v. McRae,

156 F.3d 708, 711 (6th Cir. 1998) (defendant did not have a legitimate expectation of

privacy by virtue of having stayed a week in the vacant premises that he did not



                                          34
   Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 37 of 52



own or rent); United States v. Gale, 136 F.3d 192, 196 (D.C. Cir. 1998) (defendant

lacked legitimate expectation of privacy in apartment that he used or resided in

without permission of its tenant). Rather, a person claiming the protection of the

Fourth Amendment in a third party’s residence must prove that he was legitimately

in the place searched. Rakas, 439 U.S. at 143-44 & n.12 (suggesting that wrongful

presence on property supports no reasonable expectation of privacy); United States

v. Armenta, 69 F.3d 304, 308 (9th Cir. 1995) (no legitimate expectation of privacy

where there was no identifiable “host” who could or did give defendant permission

to stay at the house); United States v. Gonzales-Barrera, 288 F. Supp. 2d 1041, 1050

(D. Ariz. 2003) (“[A]n ‘overnight guest’ is more than someone who simply spends

the night. Such status is contingent on an invitation by an authorized host.”).

Moreover, the Eleventh Circuit has held that an overnight guest must “prove that

he was a guest for personal reasons, not for a commercial purpose.” United States

v. Bell, 218 Fed. App. 885, 895 (11th Cir. 2007) (unpublished);20 United States v.


      20
         Defendants argue that the portion of Bell in which the Eleventh Circuit,
citing Minnesota v. Carter, 525 U.S. at 90-91, held that the an overnight guest must
show that he is not using a residence primarily for commercial purposes in order to
establish standing is dicta because the court had already found that the defendant
did not have standing under Rakas, 439 U.S. at 134, since he had “expressly
disclaimed a subjective expectation of privacy in the premises.” [Doc. 368 at 9
(citing Bell, 218 Fed. App. at 895)]. Defendants argue that the court’s explanation of
why Bell had not established standing as an overnight guest “only serves to further
explain why the court rejected Bell’s standing arguments and is not necessary to
support the [c]ourt’s opinion that Rakas v. Illinois controls.” [Id. at 9]. The Court

                                         35
   Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 38 of 52



Cooper, 203 F.3d 1279, 1285 n.3 (11th Cir. 2000) (noting that defendants likely would

lack standing as overnight guests because evidence suggested they were using the

premises predominately to engage in drug trafficking).

      The Court finds that defendants Mora Quezades and Martinez have failed to

satisfy their burden of showing that they had a legitimate expectation of privacy in

the residence at 3241 Hamilton Road. Defendants were not the owners of the

residence, presented no evidence that they had the permission of the owner to reside

at the residence, and had no idea how long they would be at the residence. [Doc.

358 at 15]. Mora Quezadas testified that he had another residence and that he was

staying at 3241 Hamilton Road because he was going to be leaving the area soon to

travel with his family. [Doc. 365 at 60-61]. Martinez averred that on May 13, 2008,

he “resided” at 3241 Hamilton Road and had been a “resident” at that address for

approximately one week. [Doc. 365, Def. Ex. 1]. Mora Quezadas testified that he did

not have an agreement to pay rent, and there was no evidence that either defendant

had a key to the residence or the right to exclude others. [Doc. 358 at 33]. Indeed,

the evidence showed that they did not have access to certain parts of the residence



disagrees that this portion of Bell is mere dicta, but rather serves as a holding
explaining why the defendant’s argument that he had standing as an overnight
guest failed. Defendants also argue that because Bell is unpublished, it may not be
treated as binding precedent. [Doc. 368 at 5 (citing 11th Cir. R. 36-2)]. However, the
opinion still serves as persuasive authority. See 11th Cir. R. 36-2.

                                         36
    Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 39 of 52



and that other individuals were also inside the residence. [Id. at 17, 23-26; Doc. 365

at 19-28, & Def. Exs. 2-21].

      While defendants claim that they were overnight guests, they presented no

evidence that anyone with authority to do so gave them permission to stay as guests

in the residence, and the defendants have presented somewhat conflicting evidence

as to their actual status, given Mora Quezadas’ testimony that he had another

residence and was staying at 3241 Hamilton Road until he left to travel, and

Martinez’s affidavit that he “resided” at the address for one week. Absent evidence

of an identifiable host who granted them permission to stay at the residence,

defendants have not demonstrated that they were “guests.” The mere fact that they

may have slept in the house, had some belongings and paperwork there, sometimes

ate meals at the house and cooked in the kitchen, watched TV and played pool in the

house, [Doc. 365 at 29-30, 33, 47-48, & Def. Exs. 2-21], does not establish that they

were overnight guests. Because defendants have not presented evidence that they

were guests of a specific individual, they have “advanced no concrete foundation

for standing.” Cooper, 203 F.3d at 1284-85. Accordingly, Mora Quezadas and

Martinez have not shown that they had a legitimate expectation of privacy in the

residence as overnight guests.




                                         37
   Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 40 of 52



      Even if the Court found that the defendants were overnight guests in the

residence, they have failed to show that they were there “for personal reasons, not

for a commercial purpose.” Bell, 218 Fed. App. at 895. The defendants presented

no evidence about their purpose for staying at the residence, other than Martinez

indicating that he was a resident for one week and Mora Quezadas stating that he

was staying there before he left to travel with his family. On the other hand, the

government presented evidence that the residence was used for drug trafficking and

money laundering purposes. In fact, in view of the defendants’ guilty pleas to

Count 15, charging the cocaine seized at 3241 Hamilton Road on May 13, 2008, and

their guilty pleas to Counts Three through Six and Fourteen, charging the money

laundering transactions described in the evidence as having begun at 3241 Hamilton

Road on April 8, April 16, April 18, and May 9, 2008, the evidence shows that Mora

Quezadas and Martinez were using 3241 Hamilton for commercial, criminal

purposes. Defendants argue that although there was evidence that 3241 Hamilton

Road functioned as a “drug processing location,” it also served as their residence.

[Doc. 385 at 3]. However, because the evidence shows that 3241 Hamilton Road was

being used “primarily for commercial” purposes, Bell, 218 Fed. App. at 896, the

defendants had no reasonable expectation of privacy even if they were overnight

guests in the residence. Cooper, 203 F.3d at 1285 n.3; Puliese, 671 F. Supp. at



                                        38
     Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 41 of 52



1358-61. It is therefore RECOMMENDED that Mora Quezadas and Martinez’s

motions to suppress, [Docs. 242 & 254], be DENIED based on their lack of standing.

C.     Pelon’s Motion to Suppress, [Doc. 257]

       Pelon seeks to suppress the fruits of the warrantless search of his residence,

claiming it was conducted without his consent and without a warrant or probable

cause or reasonable suspicion of wrongdoing. [Doc. 257]. The government argues

that Pelon’s motion should be denied because agents entered the Sweetwater house

to execute a valid arrest warrant and were lawfully inside the bedroom occupied by

Pelon, where the four cell phones were found in plain view.21 [Doc. 301 at 9-15].

       Although the principle intrusion against which the Fourth Amendment is

aimed is physical entry into one’s home, Payton v. New York, 445 U.S. 573, 585

(1980) (citation and quotations omitted), when law enforcement agents are armed

with a valid arrest warrant, i.e., an arrest warrant founded upon probable cause,

they possess the “limited authority to enter a dwelling in which the suspect lives

when there is reason to believe the suspect is within.” Id. at 603. In assessing

whether law enforcement agents possessed lawful authority to enter a residence

pursuant to a valid arrest warrant, courts inquire into two matters: first, whether



       21
       The government adds that each of the four phones were viewed by officers
while within the “grab area” of Pelon and were seized less than five minutes later
pursuant to Pelon’s lawful arrest. [Doc. 301 at 14-15].

                                         39
    Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 42 of 52



there existed a reasonable belief that the location to be searched was the suspect’s

dwelling; and second, whether the agents had “reason to believe” that the suspect

was within the dwelling at the time of entry. United States v. Bervaldi, 226 F.3d

1256, 1263 (11th Cir. 2000); United States v. Magluta, 44 F.3d 1530, 1533 (11th Cir.

1995). All facts and circumstances within the knowledge of the law enforcement

agents are relevant to this analysis and are viewed in their totality, and common

sense factors guide the analysis. Bervaldi, 226 F.3d at 1263; Magluta, 44 F.3d at 1535.

      Pelon does not contest that the government possessed a valid warrant for his

arrest, nor does he contest the officers’ entry into the Sweetwater house or their

lawful presence in the bedroom on the morning of September 16. [Docs. 311 & 323

at 3]. Based on the evidence collected from surveillance and wiretaps, the agents

possessed a reasonable belief that 1014 Sweetwater Road was Pelon’s residence.

Furthermore, the agents were justified in believing that Pelon would be at the

residence on the morning of September 16, 2008, since his vehicle had been spotted

there in the days leading up to the execution of the warrant and was parked there

when agents arrived that morning, he was not known to have any employment that

would involve him being away from the house at 8:30 a.m., and agents “may

presume that a person is at home at certain times of the day – a presumption which

can be rebutted by contrary evidence regarding the suspect’s known schedule.”



                                          40
    Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 43 of 52



Magluta, 44 F.3d at 1535. While Pelon does not contest the agents’ entry into his

residence to execute the arrest warrant, he does object to the seizure of the cell

phones from the bedroom.

      1.     The Cell Phones Were Found in Plain View

      Under the plain view doctrine, “if police are lawfully in a position from which

they view an object, if its incriminating character is immediately apparent, and if the

officers have a lawful right of access to the object, they may seize it without a

warrant.” Minnesota v. Dickerson, 508 U.S. 366, 375 (1993). Officers “may seize any

contraband, including weapons, in plain view.” United States v. Purcell, 236 F.3d

1274, 1277 (11th Cir. 2001). The theory of the plain-view doctrine is that “if

contraband is left in open view and is observed by a police officer from a lawful

vantage point, there has been no invasion of a legitimate expectation of privacy and

thus no ‘search’ within the meaning of the Fourth Amendment–or at least no search

independent of the initial intrusion that gave the officers their vantage point.”

Dickerson, 508 U.S. at 375. See also Texas v. Brown, 460 U.S. 730, 739-40 (1983)

(contraband on car seat in plain view of officer who had stopped car and asked for

driver’s license properly seized); O’Rourke v. Hayes, 378 F.3d 1201, 1208 (11th Cir.

2004) (noting that no search, and thus no Fourth Amendment violation, occurred

when an officer used his eyes in a place where the officer has the right to be). The

doctrine, however, is limited in that officers must have probable cause to believe that

                                          41
    Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 44 of 52



items in plain view are contraband before they may seize them. See Arizona v.

Hicks, 480 U.S. 321, 328 (1987).

      As disussed, the DEA agents were lawfully present in the bedroom at the

Sweetwater house pursuant to a valid arrest warrant. Upon arresting Pelon, the

agents saw four cell phones in the bedroom. [Doc. 294 at 34, 38, 50].22 One phone

was found lying on the night stand to the right of the bed, one was lying on the floor

to the right of the bed, and two were lying on the floor to the left of the bed. [Id. at

34-35]. Officer Krueger testified that when agents entered the room or took a few

steps into the room, all four phones were visible to them. [Id. at 35, 37, 47, 50].

Agents called out the fact that there were phones in the room, and Officer Krueger

immediately recognized them as evidence of criminal conduct and understood their

importance in a drug and wiretap investigation:

      I mean they’re a phone group. We’re a phone group. I mean the
      phones are a viable source of our intel, and during the course of
      various investigations or arrests, there’s always a concerted effort by
      the part of the defendants many times to destroy the phones . . . .

[Id. at 35-36, 50]. Under these circumstances, in which the officers were lawfully

present in the bedroom and immediately recognized the incriminating nature of the



      22
          Pelon seeks to suppress a fifth cell phone found in the kitchen area, but the
government is not seeking to introduce evidence related to this phone as it has no
evidentiary value. [Doc. 232 at 1 n.1]. Hence, Pelon’s motion with respect to the
fifth cell phone is moot.

                                          42
    Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 45 of 52



cell phones in a drug investigation, it was reasonable to seize all four phones under

the plain view exception to the warrant requirement. See United States v. Diaz, 494

F.3d 221, 226 (1st Cir. 2007) (affirming district court’s denial of motion to suppress

seizure of cell phone on the basis of the “plain view” exception); United States v.

Santillan, 571 F. Supp. 2d 1093, 1100 -1101 (D. Ariz. 2008) (finding seizure of cell

phone justified under plain view exception where “officers had good reason to

believe the phone was being used in the furtherance of a drug-trafficking crime” and

citing authority for proposition that “cell phones and pagers in drug-trafficking

investigations may come within the plain view exception to the warrant requirement

as items akin to contraband, in that they are often tools of the drug-trafficking

trade.”).

      Pelon argues that the plain view exception does not apply because there were

two individuals found in the bedroom, two cell phones were found on the side of

the bed closest to Pelon, and the other two were on the opposite side of the bed.

[Doc. 311 at 11]. Since there were two individuals in the bedroom, Pelon argues that

the agents would not have known which cell phones belonged to which individual

and that further examination would have to be done to determine the ownership.

[Id.]. Since the female occupant of the bedroom was not arrested, Pelon argues that




                                         43
    Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 46 of 52



it was “perfectly reasonable that the cell phones on the other side of the bed could

be the property of the individual on the other side of the bed.” [Id. at 11-12].

      Pelon is attempting to place a higher burden on the government than is

necessary for application of the plain view exception. Although the agents could not

immediately ascertain whether all four cell phones belonged to Pelon, the phrase

“immediately apparent” does not imply “that an unduly high degree of certainty as

to the incriminatory character of evidence is necessary for an application of the

‘plain view’ doctrine.” Texas v. Brown, 460 U.S. 730, 741 (1983). The police are

required only to have probable cause to believe that the object they are viewing is

contraband or evidence of a crime. Id. at 741-42; Hicks, 480 U.S. at 326; United States

v. Smith, 459 F.3d 1276, 1290-91 (11th Cir. 2006). All four cell phones were found

lying out in the open, and agents observed all four phones while they were in the

room with Pelon and announced the presence of the phones while inside the

bedroom, recognizing immediately their incriminating nature in the context of a

drug trafficking wiretap investigation. [Doc. 294 at 35, 37, 47, 50].

      2.     The Cell Phones Were Seized Pursuant to Pelon’s Lawful Arrest

      The government also argues that the cell phones were seized incident to

Pelon’s lawful arrest because they were within his “grab area,” and agents viewed

all four cell phones during the “wingspan” search they performed upon

encountering Pelon in the bedroom. [Doc. 301 at 14; Doc. 294 at 37]. Pelon argues

                                          44
   Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 47 of 52



that the two cell phones seized from the opposite side of the bed from where he was

located were not seized pursuant to the search incident to arrest exception because

the search was not substantially contemporaneous with the arrest, the room was

“wall to wall with a king sized bed,” and the cell phones were “not within [his]

immediate control.” [Doc. 311 at 7-8].

      “A search incident to arrest is always allowed of the suspect’s person and the

immediate area from which the suspect can grab a weapon or destroy evidence.”

United States v. Standridge, 810 F.2d 1034, 1037 (11th Cir. 1987). This exception

extends to searches of “personal property such as a wallet found on the person of

the arrestee.” United States v. Richardson, 764 F.2d 1514, 1527 (11th Cir. 1985);

United States v. Ricks, 817 F.2d 692, 696 (11th Cir. 1987) (quoting Chimel v.

California, 395 U.S. 752, 763 (1969) (scope of search incident to arrest is limited to

“grab area” within suspect’s immediate reach, which “has been construed to mean

‘the area from which [the defendant] might gain possession of a weapon or

destructible evidence’”) (alteration in original). Here, the unrefuted testimony

demonstrates that all of the cell phones were within Pelon’s “grab area.” Pelon does

not challenge whether the two cell phones on his side of the bed were within his

potential control and “grab area” at the time of the arrest. [Doc. 323 at 6]. With

regard to the other two phones in the bedroom, Pelon argues that based on Officer



                                         45
    Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 48 of 52



Krueger’s testimony, two of the cell phones were at least six feet away from Pelon.

[Doc. 311 at 8]. However, agents did a quick “wingspan search,” or protective

sweep, of the area within Pelon’s reach after breaking down the bedroom door,

including the area under the bed. [Doc. 294 at 36-37].23 Officer Krueger testified that

during this search, all four phones would also have been visible to the agents as

being within Pelon’s “wingspan.” [Id. at 37-38]. Officer Krueger also testified that

Pelon could have grabbed or accessed all four of the phones from where he was

situated when the agents found him, [id. at 35, 47], and Pelon has offered no

evidence to the contrary. Hence, the cell phones were properly seized incident to

Pelon’s arrest. United States v. Finley, 477 F.3d 250, 260 (5th Cir. 2007) (upholding

seizure and search of cell phone incident to a drug related arrest); United States v.

Mendoza, 421 F.3d 663, 668 (8th Cir. 2005) (cell phone validly seized incident to

lawful arrest); United States v. Reynolds, No. 3:08-CR-143, 2009 WL 1588413, *3 (E.D.

Tenn. 2009) (five cell phones properly seized from defendant’s car incident to his

arrest where it was reasonable for the officers to believe that the cell phones might

contain evidence of drug trafficking).




      23
        A warrantless “protective sweep” of the apartment, upon entry to execute
an arrest warrant, is allowed in circumstances such as those presented here. See
Maryland v. Buie, 494 U.S. 325, 334 (1990); United States v. Delgado, 903 F.2d 1495,
1502 (11th Cir.1990) (citing Buie, 494 U.S. at 334); Magluta, 44 F.3d at 1538 (same).

                                          46
    Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 49 of 52



      Pelon also argues that the agents “knew that there were two individuals in the

room,” and “secured the area and then chose to search the room.” [Doc. 311 at 9].

However, the evidence demonstrates that the agents observed the cell phones

contemporaneously with encountering and arresting Pelon in the bedroom.

Although Officer Krueger did not seize the phones right away, the main concern

was to secure Pelon and anyone else who was hiding in the residence. [Doc. 294 at

49]. See United States v. Poole, 407 F.3d 767, 773 (6th Cir. 2005) (seizure of crack

cocaine and razors on dresser near defendant after officer handcuffed defendant and

secured other people in the room was search incident to arrest because dresser

would have been within defendant’s reach had he not been handcuffed). Even with

this delay, the cell phones were seized within just five minutes of the agents entering

the bedroom, which is “substantially contemporaneous” with the arrest. Shipley v.

California, 395 U.S. 818, 819 (1969) (per curiam).

      Pelon cites United States v. Noushfar, 78 F.3d 1442, 1448 (9th Cir. 1996), to

argue that the search did not occur until after he and the other occupant of the

bedroom were handcuffed and taken out of the bedroom, and that the search

exceeded the scope of a protective search because the objectives of the arrest warrant

had already been met. [Doc. 311 at 9-10]. However, as already stated and as the

government points out, the “search” in this case did not take place after Pelon was



                                          47
    Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 50 of 52



arrested, but “was contemporaneous with, and in fact simultaneous to, [Pelon’s]

arrest,” and the agents viewed the phones within Pelon’s “grab area” just before

arresting him. [Doc. 323 at 7]. Thus, Noushfar is inapposite, since it involved agents

arresting the defendants within a minute of entering the apartment and then making

them sit in their living room while the agents searched the apartment for more than

half an hour. 78 F.3d at 1448.24 Moreover, the fact that Pelon had been handcuffed

and removed from the bedroom when Officer Krueger retrieved the cell phones

does not preclude finding that the phones were seized incident to his arrest as many

courts “have recognized that even when an arrestee is handcuffed, a search of the

area that was within the defendant’s immediate control when he was arrested is



      24
         Likewise, Pelon’s citation of United States v. Cueto, 611 F.2d 1056 (5th Cir.
1980), [Doc. 311 at 7], which held that a search of a room that the defendant had not
been in when arrested and which occurred after the defendant was handcuffed and
under arrest was not incident to arrest, is factually distinguishable. The “search”
here occurred in the same room in which Pelon was arrested and was
contemporaneous with agents performing the protective sweep and arresting Pelon.
Pelon also cites United States v. Strahan, 984 F.2d 155, 159 (6th Cir. 1993) (where
defendant was arrested 30 feet from vehicle, passenger compartment was not within
defendant’s “immediate control” at time of arrest and was illegally searched), and
United States v. Bonitz, 826 F.2d 954, 956 (10th Cir. 1987) (case containing AR-15 rifle
searched after defendant was handcuffed and in custody was not conducted in order
to disarm defendant, protect safety of officers, or prevent destruction of evidence
and was therefore improper). [Doc. 311 at 7]. Again, these cases are distinguishable
as the undisputed evidence shows that the cell phones were within Pelon’s “grab
area” before he was arrested, and Officer Krueger’s observation of the cell phones
did not occur after Pelon was handcuffed and in custody but while Pelon was being
arrested.

                                          48
    Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 51 of 52



valid so long as it is conducted within a time span close to the arrest and while the

defendant is still within the general proximity of the arresting officers.” United

States v. Massenberg, 45 Fed. App. 115, 120 (3d Cir. 2002) (citing Gov’t of Virgin

Islands v. Rasool, 657 F.2d 582, 585, 588-89 (3d Cir. 1981) (upholding search of

automobile incident to driver’s arrest after driver had been handcuffed but remained

in the vicinity of the arresting officer); United States v. Turner, 926 F.2d 883, 887-88

(9th Cir. 1991) (upholding search of area of room in defendant’s immediate control

before his arrest, although defendant had been handcuffed and removed from

room); United States v. Abdul-Saboor, 85 F.3d 664, 670-71 (D.C. Cir. 1996) (search

upheld although defendant had been handcuffed and was outside bedroom in

which he was arrested)). Therefore, it is RECOMMENDED that Pelon’s motion to

suppress, [Doc. 257], be DENIED.




                                          49
   Case 1:08-cr-00363-TWT-RGV Document 394 Filed 09/11/09 Page 52 of 52



                               III. CONCLUSION

        For the foregoing reasons and cited authority, the undersigned Magistrate

Judge RECOMMENDS that Mora Quezadas and Martinez’s motions to suppress,

[Docs. 242 & 254], be DENIED, that Gonzales and Ibarra’s motions to suppress,

[Docs. 256 & 273], be DENIED, and that Pelon’s motion to suppress, [Doc. 257], be

DENIED.25

        There are no other pending matters before the Magistrate Judge, and the

undersigned is aware of no problems relating to the scheduling of this case.

        IT IS THEREFORE ORDERED and ADJUDGED that this action be and the

same is hereby, certified Ready for Trial.

        IT IS SO ORDERED AND RECOMMENDED, this 11th day of September,

2009.



                                       RUSSELL G. VINEYARD
                                       UNITED STATES MAGISTRATE JUDGE




        25
       As noted, defendant Tomas’ motion to suppress, [Doc. 250], is deemed
abandoned and withdrawn.

                                         50
